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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


  DR. SCOTT JENSEN,                             Court File No. 23-CV-01689-JWB-DTS

                 Plaintiff,

            v.

  MINNESOTA BOARD OF MEDICAL
  PRACTICE; RUTH MARTINEZ,
  ELIZABETH A. HUNTLEY,
  CHERYL L. BAILEY, JOHN M.                                [PROPOSED]
  MANAHAN, PETER J. HENRY, in both                      ORDER OF DISMISSAL
  their individual and official capacities as
  members of the Minnesota Board of
  Medical Practice; BRIAN ANDERSON in
  his individual and official capacity as a
  medical regulations analysts for the
  Minnesota Board of Medical Practice,
  JANE ROES 1-12, in both their individual
  and official capacities as members of the
  Minnesota Board of Medical Practice; and
  JOHN DOES 1-4, in both their individual
  and official capacities as members of the
  Minnesota Board of Medical Practice,

                 Defendants.


        On October 3, 2023, the above-entitled matter came before the undersigned Judge

of U.S. District Court.

        The Court, having received the arguments of counsel, and based upon the

pleadings, records, motions, and memoranda filed herein, IT IS HEREBY ORDERED:

       1.        Defendants’ Motion to Dismiss is GRANTED in all respects;
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         2.   Plaintiff’s Complaint is DISMISSED WITH PREJUDICE in its entirety;

and

         3.   Judgment of dismissal shall be entered upon filing of this Order.


Dated:                                   BY THE COURT:



                                         ________________________________
                                         The Honorable Jerry W. Blackwell
                                         U.S. District Court Judge
                                         District of Minnesota




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